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 6   LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10
     WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
11   and FACEBOOK, INC., a Delaware
     corporation,                                DEFENDANTS NSO GROUP
12                                               TECHNOLOGIES LIMITED AND Q
                 Plaintiffs,                     CYBER TECHNOLOGIES LIMITED’S
13                                               ADMINISTRATIVE MOTION TO FILE
           v.                                    UNDER SEAL
14
     NSO GROUP TECHNOLOGIES LIMITED              Judge: Hon. Phyllis J. Hamilton
15
     and Q CYBER TECHNOLOGIES LIMITED,
                                                 Action Filed: 10/29/2019
16
                 Defendants.
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       DEFENDANTS’ ADMINISTRATIVE                                     Case No. 4:19-cv-07123-PJH
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 1            Pursuant to Civil Local Rules 7-11 and 79-5(d), Defendants NSO Group Technologies

 2 Limited and Q Cyber Technologies Limited submit this Administrative Motion to File Under Seal

 3 the indicated portions of (1) the Declaration of Matthew Dawson filed concurrently with this

 4 Motion (“Dawson Declaration”); (2) the Reply in Support of Defendants’ Motion to Dismiss or

 5   for Summary Judgment for Lack of Personal Jurisdiction and for Partial Summary Judgment

 6   (“Defendants’ Reply”); (3) the Declaration of Tamir Gazneli in Support of Defendants’ Reply

 7   (“Gazneli Declaration”); (4) the Supplemental Declaration of Terrence McGraw in Support of

 8   Defendants’ Reply (“Supplemental McGraw Declaration”) and Exhibits X and Y thereto; and (5)

 9   Exhibits Z-CC to the Supplemental Declaration of Joseph A. Akrotirianakis in Support of

10   Defendants’ Reply (“Supplemental Akro. Declaration”) (collectively, the “Sealed Documents”).

11            The Motion is based upon the points and authorities set forth herein, as well as those facts

12   attested to in the Dawson Declaration.

13   I.       BACKGROUND

14            The Court stayed discovery in this case shortly after Plaintiffs served their First Set of RFPs

15   on June 4, 2020. (Dawson. Decl. ¶ 2.) After the stay ended, the Court instructed the parties to

16   meet and confer regarding the effect of Israeli law on Plaintiffs’ RFPs. (Id.) The parties met and

17   conferred but could not reach a resolution, forcing Defendants to file a motion for protective order

18   on March 30, 2023. (Id.) On November 15, 2023, the Court denied NSO’s motion for protective

19   order. (Dkt. No. 233.) The parties have since conducted substantial discovery, which has required

20   NSO to produce certain highly confidential information and materials in accordance with Israeli

21   law. (Dawson Decl. ¶ 2.) For additional information, the Court is respectfully referred to

22   paragraphs 2-12 of the accompanying Dawson Declaration. The parties are now in the process of

23   filing dispositive motions. (Dawson Decl. ¶ 2.)

24   II.      LEGAL STANDARD

25            Although courts recognize a general right to inspect and copy public records, “access to

26   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

27   (9th Cir. 2006). A party seeking to seal materials submitted with a motion for summary judgment

28   must demonstrate that there are compelling reasons to keep the documents under seal. See Ctr. for
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 1   Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101–02 (9th Cir. 2016); Fed. Deposit Ins.

 2   Corp. v. Bayone Real Estate Inv. Corp., 2017 WL 1398311, at *2 (N.D. Cal. Apr. 19, 2017). It is

 3   in the “sound discretion of the trial court” to determine what constitutes a “compelling reason.” In

 4   re Da Vinci Surgical Robot Antitrust Litig., 2024 WL 1687645, at *1 (N.D. Cal. Apr. 17, 2024).

 5           As an initial matter, courts have found compelling reasons to seal traditionally non-public

 6   government information. See Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co., 2019 WL

 7   11638962, at *2 (D. Nev. June 20, 2019). For additional authority on this topic, the Court is

 8   respectfully referred to Paragraph 13 of the Dawson Declaration.

 9           In addition, “[c]ompelling reasons justifying sealing court records generally exist when

10   such “court files might . . . become a vehicle for improper purposes” such as “releas[ing] trade

11   secrets [] or as sources of business information that might harm a litigant’s competitive standing.”

12   Hyundai Motor, 2019 WL 11638962, at *1; see also Grace v. Apple, Inc., 2019 WL 12288173, at

13   *3 (N.D. Cal. Aug. 22, 2019) (“Competitive harm and security concerns can qualify as compelling

14   reasons.”). Courts have thus found that compelling reasons exist to seal “proprietary information

15   concerning [a party’s] technology and internal business operations” and “descriptions of [a party’s]

16   proprietary technology.” Transperfect Global, Inc. v. MotionPoint Corp., 2013 WL 706975, at *1

17   (N.D. Cal. Feb. 26, 2013); see also Finjan, Inc. v. Proofpoint, Inc., 2016 WL 7429304, at *2 (N.D.

18   Cal. Feb. 9, 2016) (recognizing “compelling reasons to seal . . . source code directories,

19   information about the technical operation of the products, financial revenue data, and excerpts

20   from expert depositions [and] expert report[s]”); Icon-IP Pty Ltd. v. Specialized Bicycle

21   Components, Inc., 2015 WL 984121, at *2 (N.D. Cal. Mar. 4, 2015) (“pricing, profit, and customer

22   usage information, when kept confidential by a company, is appropriately sealable under the

23   ‘compelling reasons’ standard where that information could be used to the company’s competitive

24   disadvantage”). 1   Courts have also found compelling reasons to seal “customers’ personal

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26   1
       See also Synchronoss Techs., Inc. v. Dropbox Inc., 2019 WL 3718566, at *1 (N.D. Cal. Aug. 7,
27   2019) (compelling reasons support sealing “confidential business information in the form of
     license agreements, financial terms, details of confidential licensing negotiations, and business
28   strategies”) (internal quotation marks omitted).
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 1   information, which includes the customers’ names, account numbers, IP addresses, email

 2   addresses, and/or customer activities on certain platforms.” Activision Publ’g, Inc. v. Engine

 3   Owning UG, 2023 WL 2347134, at *1 (C.D. Cal. Feb. 27, 2023).

 4   III.   ARGUMENT

 5          As explained below, compelling reasons exist to seal the Sealed Documents.

 6          First, certain of the Sealed Documents contain highly sensitive, non-public information,

 7   the disclosure of which would prejudice Defendants and parties not before the Court. See, e.g.,

 8   Compal Elecs., Inc. v. Apple Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v.

 9   Ras Al Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017);

10   Strauss v. Credit Lyonnais, S.A., 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011). For additional

11   argument, NSO respectfully refers the Court to Paragraph 13 of the Dawson Declaration.

12          Second, many of the Sealed Documents include information about the parties’ confidential

13 technology and other trade secrets—including the operation of both WhatsApp’s and NSO’s

14 technologies. Courts have routinely held that confidential business information satisfies the

15 “compelling reasons” standard. See In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal.

16 Nov. 8, 2017) (concluding that the parties established compelling reasons to file under seal records

17 that implicate “confidential business information” subject to confidentiality agreements); Jones v.

18 PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023). This includes technological
19 information. See Transperfect Global, 2013 WL 706975, at *1. The nature of NSO’s business

20 requires that such information be kept confidential, and NSO would suffer competitive harm if this

21 information were broadly disclosed to the public and to potential competitors. NSO’s government

22 customers would also be prejudiced by disclosure of such information. Plaintiffs have sought to

23 seal equivalent confidential information about their own business and technology.

24          The Dawson Declaration Supporting This Motion. As the Dawson Declaration itself

25 makes clear, it contains highly sensitive, non-public information, the disclosure of which would

26 prejudice Defendants and other parties not before the Court. See Dawson Decl. ¶¶ 2, 4-13.

27          Portions of Defendants’ Reply. Defendants have indicated certain portions of Defendants’

28 Reply that there are compelling reasons to seal. Defendants’ Reply contains references to
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 1   information that is subject to the legal restrictions and confidentiality obligations discussed at ¶¶ 2

 2   and 4-13 of the Dawson Declaration. Regardless, Defendants’ Reply discusses highly confidential

 3   information about the research, development, and functioning of Defendants’ technologies, as well

 4   as confidential customer information, all of which warrants sealing to prevent substantial harm to

 5   Defendants’ business and to Defendants’ government customers. See, e.g., Finjan, 2016 WL

 6 7429304, at *2; Transperfect , 2013 WL 706975, at *1; Activision, 2023 WL 2347134, at *1;

 7 Synchronoss, 2019 WL 3718566, at *1. The indicated portions of Defendants’ Reply also include

 8 references to the declarations and exhibits below, which include the categories of confidential
 9 information described below.

10          Furthermore, pages 4-5 and 9-13 of Defendants’ Reply contain references to information

11 that Plaintiffs have designated as “Highly Confidential - Attorney’s Eyes Only” under the

12 Stipulated Protective Order (Dkt. No. 132). Defendants reserve the right to oppose any statement

13 by Plaintiffs in accordance with Civil Local Rule 79-5(f)(4).

14          Portions of the Gazneli Declaration. This declaration, from the head of NSO’s research

15 and development department, consists largely of information that is subject to the legal restrictions

16 and confidentiality obligations discussed at ¶¶ 2 and 4-13 of the Dawson Declaration. The

17 declaration primarily consists of highly confidential technical information regarding the

18 functioning of Defendants’ technology, which independently warrants sealing. See, e.g., Finjan,
19 2016 WL 7429304, at *2.

20          Portions of the Supplemental McGraw Declaration and Exhibits. This declaration from

21 Defendants’ technical and cybersecurity expert, and its exhibits, consist of information that is

22 subject to the legal restrictions and confidentiality obligations discussed at ¶¶ 2 and 4-13 of the

23 Dawson Declaration. These materials also primarily consist of highly confidential technical

24 information regarding the functioning of Defendants’ and Plaintiffs’ technologies, including IP

25 addresses, which independently warrants sealing. See, e.g., Finjan, 2016 WL 7429304, at *2; see

26 also Dawson Decl. ¶ 21.

27          These materials discuss information that Plaintiffs have designated as “Highly Confidential

28 - Attorney’s Eyes Only” under the Stipulated Protective Order (Dkt. No. 132). Defendants reserve
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 1   the right to oppose any statement by Plaintiffs in accordance with Civil Local Rule 79-5(f)(4).

 2          Exhibits to the Supplemental Akro. Declaration. Exhibits Z-CC to the Supplemental

 3   Akro. Declaration set forth information that is subject to the legal restrictions and confidentiality

 4   obligations discussed at ¶¶ 2 and 4-13 of the Dawson Declaration. Regardless, these materials

 5   contain highly confidential technical information regarding Defendants’ and Plaintiffs’

 6   technologies and confidential customer information, that independently warrants sealing. E.g.,

 7   Transperfect, 2013 WL 706975, at *1; Activision, 2023 WL 2347134, at *1; Synchronoss, 2019

 8   WL 3718566, at *1; see also Dawson Decl. ¶ 18.

 9          Exhibits AA-CC constitute or discuss information that Plaintiffs have designated as

10   “Highly Confidential - Attorney’s Eyes Only.” See Dawson Decl. ¶ 19. Defendants reserve the

11   right to oppose any statement by Plaintiffs in accordance with Civil Local Rule 79-5(f)(4).

12                                                  *****
13          As shown above and in the Dawson Declaration, compelling reasons exist to seal each of

14   the Sealed Documents. Defendants have analyzed each of the documents being filed, and for each,

15   Defendants are asking the Court to file under seal only the minimum necessary to meet their legal

16   obligations and to preserve their confidential information.

17   IV.    CONCLUSION

18          For the reasons set forth above and in the accompanying Dawson Declaration, Defendants

19   request that the Court grant this Motion and order the Sealed Documents to be kept under seal.

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21   DATED: October 18, 2024                           KING & SPALDING LLP
22                                                     By: /s/Aaron S. Craig
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23
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